 Case: 2:20-cv-00915-EAS-CMV Doc #: 10 Filed: 10/19/20 Page: 1 of 1 PAGEID #: 56




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

DWAUN JACOBS,

              Plaintiff,                        Case No. 2:20-cv-915
       v.                                       JUDGE EDMUND A. SARGUS, JR.
                                                Magistrate Judge Chelsey M. Vascura

COMMISSIONER OF
SOCIAL SECURITY,

              Defendant.


                                           ORDER

       This matter is before the Court for consideration of a Report and Recommendation issued

by the Magistrate Judge on May 14, 2020. (ECF No. 8.) The time for filing objections has passed,

and no objections have been filed to the Report and Recommendation. Therefore, the Court

ADOPTS the Report and Recommendation.            For the reasons set forth in the Report and

Recommendation, this action is DISMISSED in its entirety.

       IT IS SO ORDERED.




10/19/2020                                  s/Edmund A. Sargus, Jr.
DATE                                        EDMUND A. SARGUS, JR.
                                            UNITED STATES DISTRICT JUDGE
